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                               UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                          :
v.                                                :       CRIM. NO. 3:19-MJ-1708 (RMS)
AHMAD ELSHAZLY                                    :       April 23, 2020


                 MOTION FOR RELEASE ON BOND AND BOND HEARING


       Mr. Ahmad Elshazly is presently detained pending trial in connection with a complaint

charging him with a violation of 18 U.S.C. § 2339B, attempting to provide material support to a

foreign terrorist organization. At the initial presentment in this matter, the Court (Spector, MJ)

detained Mr. Elshazly based upon the rebuttable presumption of detention arising from the offense.

Doc. 2. Following a detention hearing on February 13, 2020, the Court (Spector, MJ) ordered Mr.

Elshazly to remain detained. Doc. 18.

       In the two months since the detention hearing in this matter, the landscape of the world both

inside and outside custody has seismically convulsed as a result of the Covid-19 pandemic. More,

evidence disclosed by the government and information from Mr. Elshazly’s father cast new light on

important factual assumptions underlying the detention order. For the reasons that follow Mr.

Elshazly therefore moves, pursuant to 18 U.S.C. § 3142(f), that the Court reopen the detention

hearing on the basis of this new information and that the Court release Mr. Elshazly pending trial in

this matter, subject to home incarceration in his father’s custody and with a prohibition on access to

electronic devices.


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THE COVID-19 PANDEMIC FUNDAMENTALLY ALTERS THE FLIGHT AND SAFETY
                   CONSIDERATIONS IN THIS CASE

       It need hardly be said that the Covid-19 pandemic has fundamentally altered the landscape

of the world—both inside and outside of custody. In this case, those changes warrant reevaluation of

the 18 U.S.C. § 3142 analysis with respect to both safety and flight.

       First, with respect to safety, the Bail Reform Act is premised on an assumption that detention

is a tool that can be used to promote the safety of the community. The rapid progression of the

emerging COVID-19 Pandemic turns that assumption on its head. Emergency orders modifying the

fundaments of everyday living in America have been issued across the country because “social

distancing” is critical to slowing the spread of COVID-19.1 These same concerns have effectively

shuttered courthouses, including in this district. “But behind bars, some of the most basic disease

prevention measures are against the rules or simply impossible. Separating sick people from well

people to prevent the disease from spreading can be nearly impossible in prison . . . People in prisons

and jails live every minute of the day in close proximity to each other.”2

       Because of these inherent features, one judge has aptly described prisons as “tinderboxes for

infectious disease[.]” United States v. Jeremy Rodriguez, Docket No. 2:03-cr-271 (Brody, J.) 2020

WL 1627331, at *1 (E.D.Pa., April 1, 2020). As of Tuesday April 21, the tinderbox at Wyatt has

been definitively lit aflame, with a confirmed Covid-19-positive inmate. There is little reasons to

think that Wyatt will be any more successful in preventing the virus from spreading in the facility



1
  The Justice Collaborative, Explainer: Prisons and Jails are Particularly Vulnerable to COVID-19
Outbreaks,              available             at:            https://thejusticecollaborative.com/wp-
content/uploads/2020/03/TJCVulnerabilityofPrisonsandJailstoCOVID19Explainer.pdf.
2
  Id.
                                                  2
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than it was in keeping the virus out in the first place. While Mr. Elshazly is at Wyatt he is

endangered by every one of the scores of guards and detainees surrounding him, any number of

whom may be carriers of the disease, even unwittingly. And Mr. Elshazly himself poses the same

risk to others in the close quarters where he is confined.

       By contrast, on home confinement with his father,3 Mr. Elshazly would interact with at most

a handful of people and would be able physically to social distance even from these individuals as

there is ample living space in his father’s five-bedroom home.

       More, the risks—both of flight and of danger—that Mr. Elshazly could pose in the

community are substantially reduced by the societal changes arising from Covid-19. Most

obviously, travel to Syria—impracticable even at the time of the original bond hearing—is now

even further out of the question. A recent UN report indicates that in Syria “[b]order crossings

remain impacted as Syria and neighboring countries continue implementation of precautionary

measures. Most land borders into Syria are now closed, with some limited exemptions remaining

(from Jordan, Turkey and Lebanon) for commercial and relief shipments, and movement of

humanitarian and international organization personnel. International and domestic commercial

flights remain suspended[.]”4




3
  Because Mr. Elshazly’s father lives in Maryland, at the previous hearing Defendant proposed that
Mr. Elshazly should live with his aunt in Connecticut. In light of the Court’s view that his aunt
would not be an appropriate third-party custodian, Defendant instead proposes that Mr. Elshazly
reside with his father.
4
 “SYRIAN ARAB REPUBLIC: COVID-19 Humanitarian Update No. 06 As of 17 April 2020”
https://reliefweb.int/sites/reliefweb.int/files/resources/Syria_COVID-
19_Humanitarian%20Update%20No%206_17Apr2020%20FINAL.pdf
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       Defendant submits that any suggestion of danger Mr. Elshazly may pose domestically is

entirely speculative, including for the reasons discussed further below. But even such imagined

dangers are mitigated by present circumstances: social interactions of the sort the government

expressed concern regarding are severely curtailed by Covid-19 restrictions, as particularly are

group gatherings of any kind. A home incarceration order would further restrict Mr. Elshazly’s

exposure to others, as would a condition prohibiting him from accessing electronic devices.

       Additionally, the Court’s release order can be limited to the duration of the Covid-19

pandemic and may of course be conditioned on Mr. Elshazly’s demonstrated compliance with the

strict release conditions proposed. A recent release order issued by Judge Bolden with respect to a

pretrial defendant with a serious lung condition facing charges that he participated in a large-scale

drug conspiracy, for example, specifies:

   Because the circumstances of Mr. Thomas's release relate to his special health condition
   only, a condition which may be exacerbated by the coronavirus ("COVID-19"), this order
   remains in effect only so long as COVID-19 continues to present a significant public health
   concern to his incarceration. See 18 U.S.C. 3142(i) ("The judicial officer may... permit the
   temporary release of the person... to the extent that the judicial officer determines such
   release to be necessary for preparation of the person's defense or for another compelling
   reason."); United States v. Scarpa, 815 F. Supp. 88 (E.D.N.Y. 1993) (finding an incarcerated
   defendant, terminally ill with AIDS, could be released because the only appropriate medical
   care he could receive was at hospital).


US v Best et al., 3:20-cr-00028 (VAB), Doc. 44.




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   NEW INFORMATION UNDERMINES CLAIMS REGARDING MR. ELSHAZLY’S
 FATHER’S PURPORTED INTERVENTIONS AND MR. ELSHAZLY’S PAST ACTIONS
     In its detention order the Court expressed concern that “both of [Mr. Elshazly’s] parents

knew of his actions in professing support for, and a commitment to, violence committed on

Americans in Syria and abroad, but could do little to stop him. Indeed, his father tried when the

defendant was living with him for a short period of time in Maryland and even had a police officer

visit his home in Maryland, but instead the defendant left his father’s home and returned to

Connecticut, where he continued, unchecked by his mother, to engage in the conduct of described

above.” Doc. 18.

       Mr. Elshazly’s father has indicated that these factual statements are in important respects

incorrect. Specifically, he had no awareness of Mr. Elshazly’s alleged support of ISIS. More, the

incident in which police visited Mr. Elshazly’s father’s house had nothing to do with religion or

ideology. Rather, when Mr. Elshazly was approximately 18 years old and living with his father, he

stopped attending high school. His father requested that the local sheriff’s deputy responsible for

monitoring the high school visit the home to get Mr. Elshazly to return to school. However, because

Mr. Elshazly was already 18, the deputy was not able to be helpful. Later, when Mr. Elshazly was

approximately twenty, he returned to live with his father and nearly completed an adult education

program before his mother brought him back to Connecticut.

       In short, Mr. Elshazly’s father did not stand helplessly by while Mr. Elshazly allegedly

committed the acts described in the complaint affidavit. He remains willing and able to serve as a

custodian to Mr. Elshazly. He is prepared if necessary to travel to Connecticut to retrieve Mr.

Elshazly and to enforce the conditions of release, including regarding home incarceration and a

prohibition on access to electronic devices.
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       In its order of detention, the Court also relies in part on evidence that “[t]o the extent that

there is a suggestion that the defendant’s own words were not meaningful and not indicative of

violent behavior, his actions corroborate the words, in that there were three instances of him

engaging with total strangers simply because he felt that something about their appearance or

attitude was an afront to his beliefs.” Doc. 18.

       These “three instances” specifically relate to alleged events that government counsel

proffered at the detention hearing: “One where he was at work and he was sitting in a truck in

Target here in Connecticut. Two service members came walking by. Mr. Elshazly yelled out Allahu

Akbar to them”; the second “was an incident where there was a female in a store when Mr. Elshazly

was working where he believed that she was inappropriately dressed, where he was pushing a piece

of equipment at her rather quickly and the individual with him effectively had to -- essentially yelled

at him and stopped him from hitting the woman”; and the third “was an incident where Mr. Elshazly

was with another person where this person allowed an Orthodox Jew to walk in front of them. Mr.

Elshazly became irate at this person and indicated that Muslims are at the top and why would you

ever allow someone below you to walk in front of you.” Tr. at 40.

       The reports underlying these reported events do not bear out any remotely violent action by

Mr. Elshazly. The first and third incidents, importantly, involved nothing more than words, unpaired

with any action. The second incident was presented in court as attempted action that would

seemingly have involved aggressive action except the informant “stopped him from hitting the

woman.” The report regarding this incident (which can be submitted separately under seal) shows

instead that the informant was unable to say definitively that Mr. Elshazly even noticed the woman.

More, the report never claimed that Mr. Elshazly seemed to be at risk of hitting the woman—
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instead, the informant worried that Mr. Elshazly might hit her shopping cart. There is, ultimately, no

factually grounded allegation at all that Mr. Elshazly engaged in any kind of violent behavior based

upon his alleged beliefs.

                                          CONCLUSION

       For the reasons above, Defendant requests that the Court, reopen the detention hearing and

order that Mr. Elshazly be released pending the trial of this case subject to conditions including that

he be subject to home incarceration in the home of his father in Maryland and that he not have

access to any electronic devices.

                                              Respectfully submitted,

                                              THE DEFENDANT,
                                              Ahmad Elshazly

                                              OFFICE OF THE FEDERAL DEFENDER

Dated: April 23, 2020                         /s/ James P. Maguire
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                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on April 23, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.
                                                /s/ James P. Maguire
                                                James P. Maguire

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